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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    STRATEGIC OPERATIONS, INC., a                      Case No.: 17-CV-1539 JLS (NLS)
      California Corporation,
12
                                        Plaintiff,       ORDER GRANTING JOINT
13                                                       MOTION TO RESET HEARING
      v.                                                 DATE AND BRIEFING SCHEDULE
14
                                                         FOR DEFENDANTS’ MOTION TO
      BREA K. JOSEPH, an Individual;
15                                                       DISMISS SECOND AMENDED
      KASEY EROKHIN, an Individual;
                                                         COMPLAINT
16    KBZ FX, INC., a California Corporation;
      and DOES 1–10, inclusive,
17                                                       (ECF No. 40)
                                    Defendants.
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19
20         Presently before the Court is Plaintiff Strategic Operations, Inc. and Defendants Brea
21   K. Joseph, Kasey Erokhin, and KBZ FX, Inc.’s Joint Motion to Reset Hearing Date and
22   Briefing Schedule for Defendants’ Motion to Dismiss Second Amended Complaint (“Joint
23   Mot.,” ECF No. 40), given their “ongoing settlement discussions stemming from the
24   parties’ ENE Conference.” Id. at 1. Good cause appearing, the Court GRANTS the Joint
25   Motion. As agreed among the Parties, the Court CONTINUES the hearing on Defendants’
26   Motion to Dismiss Claims Against Individual Defendants Brea K. Joseph and Kasey
27   Erokhin in Second Amended Complaint (ECF No. 28) to September 5, 2019, a 1:30 p.m.,
28   ///

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1    in Courtroom 4D. Plaintiff SHALL FILE an opposition on or before August 22, 2019,
2    and Defendants MAY FILE a reply, if any, on or before August 29, 2019.
3          IT IS SO ORDERED.
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5    Dated: August 7, 2019
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